239 F.2d 61
    COLUMBIAN FUEL CORPORATION, Petitioner,v.FEDERAL POWER COMMISSION, Respondent.
    No. 13129.
    United States Court of Appeals District of Columbia Circuit.
    Argued November 2, 1956.
    Decided November 13, 1956.
    
      Mr. Frederic A. Collins, New York City, of the bar of the Court of Appeals of New York, with whom Mr. Harry J. Gerrity, Washington, D. C., was on the brief, for appellant.
      Mr. Louis C. Kaplan, Washington, D. C., with whom Messrs. Willard W. Gatchell and Howard E. Wahrenbrock, Washington, D. C., were on the brief, for appellee.
      Before BAZELON, WASHINGTON and BURGER, Circuit Judges.
      PER CURIAM.
    
    
      1
      This cause came on to be heard on a petition for review of an order of the Federal Power Commission and was argued by counsel. Upon consideration whereof, and of the briefs filed by the parties and the joint appendix, it is
    
    
      2
      Ordered and adjudged by this Court that the petition for review in this case be, and it is hereby, dismissed on the authority of Northern Natural Gas Company v. Federal Power Commission (unreported), No. 10,726, decided Feb. 8, 1951 as well as on the authority of the decisions therein cited, namely, United Gas Pipe Line Co. v. Federal Power Commission, 86 U.S.App.D.C. 314, 181 F.2d 796; Arrow Airways v. Civil Aeronautics Board, 87 U.S.App.D.C. 71, 182 F.2d 705; National Airlines, Inc., v. Civil Aeronautics Board, No. 10749, appeal dismissed December 19, 1950 (unreported).
    
    